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 1   Bradley E. Brook (CA Bar No. 125323)
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 3   Tel: 310/839-2004; Fax: 310-945-0022
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 4
     Special counsel for David K. Gottlieb, Chapter 7 Trustee
 5

 6                             UNITED STATES BANKRUPTCY COURT

 7            CENTRAL DISTRICT OF CALIFORNIA, SAN FERNANDO VALLEY DIVISION

 8   In re:                                               Case No.: 1:18-BK-10098-MB
                                                          Chapter 7
 9   PENTHOUSE GLOBAL MEDIA, INC.,
                                                          Jointly Administered with Cases Nos.:
10                                 Debtor.                1:18-bk-10099-MB; 1:18-bk-10101-MB;
     _____________________________________                1:18-bk-10102-MB; 1:18-bk-10103-MB;
11        Affects All Debtors                             1:18-bk-10104-MB; 1:18-bk-10105-MB;
          Affects Penthouse Global Broadcasting,          1:18-bk-10106-MB; 1:18-bk-10107-MB;
12   Inc.                                                 1:18-bk-10108-MB; 1:18-bk-10109-MB;
          Affects Penthouse Global Licensing, Inc.        1:18-bk-10110-MB; 1:18-bk-10111-MB;
13        Affects Penthouse Global Digital, Inc.          1:18-bk-10112-MB; 1:18-bk-10113-MB
          Affects Penthouse Global Publishing, Inc.
14        Affects GMI Online Ventures, Ltd.               NOTICE OF MOTION AND MOTION OF
          Affects Penthouse Digital Media                 TRUSTEE FOR ORDER DISALLOWING
15   Productions, Inc.                                    REQUEST FOR PAYMENT OF
          Affects Tan Door Media, Inc.
16        Affects Penthouse Images Acquisitions,          ADMINISTRATIVE CLAIM NO. 64-1
     Ltd.                                                 FILED BY ALLEN, DYER, DOPPELT &
17        Affects Pure Entertainment                      GILCHRIST P.A. IN THE SUM OF
     Telecommunications, Inc.                             $41,394.20; MEMORANDUM OF POINTS
18        Affects XVHUB Group, Inc.                       AND AUTHORITIES; DECLARATION OF
          Affects General Media Communications,           DAVID K. GOTTLIEB IN SUPPORT
19   Inc.                                                 THEREOF
          Affects General Media Entertainment, Inc.
20        Affects Danni Ashe, Inc.
          Affects Streamray Studios, Inc.             Date: October 27, 2021
21                                                    Time: 11:00 am
                                                      Place: Courtroom 303
22                                                           21041 Burbank Blvd.
23                                                           Woodland Hills, CA 91367
                                                      Judge: Hon. Martin R. Barash
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 1          PLEASE TAKE NOTICE that David K. Gottlieb, solely in his capacity as the duly

 2   appointed, authorized and acting Chapter 7 Trustee (the “Trustee”) of Penthouse Global Media, Inc.

 3   and its debtor affiliates (collectively, the “Debtors”) hereby moves (the “Motion”) the Court for an

 4   order disallowing the Request for Payment of Administrative Claim No. 64-1 filed by Allen, Dyer,

 5   Doppelt and Gilchrist, P.A. (“Claimant”) in the sum of $41,394.20 (the “Claim”). The grounds for

 6   the Motion are that Claimant is a law firm which never sought nor obtained court approval for its

 7   employment under 11 U.S.C. § 327 and is barred from being compensated from these estates

 8   whether under 11 U.S.C. § 503 or otherwise.

 9          PLEASE TAKE FURTHER NOTICE that a hearing to consider the Motion has been

10   scheduled for October 27, 2021 at 11:00 a.m. before the Honorable Martin Barash, United States

11   Bankruptcy Judge, in Courtroom 303, 20141 Burbank Boulevard, Woodland Hills, California 91367.

12   Pursuant to the SUPPLEMENTAL NOTICE OF HEARING TO BE HELD REMOTELY USING

13   ZOOMGOV AUDIO AND VIDEO, the Court will conduct the hearing remotely, using ZoomGov

14   audio and video technology. Individuals will not be permitted access to the courtroom. The

15   following is the unique ZoomGov connection information for the above-referenced hearing:

16   Video/audio web address:      https://cacb.zoomgov.com/j/1600150150
17   ZoomGov meeting number: 160 015 0150
18   Password: 602527
19   Telephone conference lines: 1 (669) 254 5252 or 1 (646) 828 7666
20          PLEASE TAKE FURTHER NOTICE that the Motion has been served upon the claimant

21   listed above and all parties entitled thereto and is based upon the supporting Memorandum of Points

22   and Authorities and Declaration of David K. Gottlieb, the statements, arguments and representations

23   of counsel who appear at the hearing on the Motion, the files and records in the above-captioned

24   cases, any evidence properly before the court prior to or at the hearing regarding the Motion and all

25   matters of which the court may properly take judicial notice.

26          PLEASE TAKE FURTHER NOTICE that pursuant to Local Bankruptcy Rule 9013-1(f),

27   responses to the Motion must be filed with the Court and served upon the Trustee’s counsel at the

28   address in the upper left-hand corner of this Motion no later than fourteen (14) days prior to the
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 1   hearing date. Responses must contain a written statement of all reasons the Motion is opposed and

 2   must include declarations and copies of all documentary evidence on which the responding party

 3   intends to rely. Responses must be filed either electronically or at the following location:

 4                                       United States Bankruptcy Court
                                              21041 Burbank Blvd.
 5                                        Woodland Hills, CA 91367
 6           PLEASE TAKE FURTHER NOTICE that if a response is not timely filed and served, the

 7   Trustee will request that the court grant the relief requested in the Motion without further notice or

 8   hearing.

 9           PLEASE TAKE FURTHER NOTICE that if a response is timely filed and served upon the

10   Trustee’s counsel, the Court, in its discretion, may treat the initial hearing as a status conference if it

11   determines that the Motion involves disputed factual issues or will require presentation of substantial

12   evidence or argument.

13           WHEREFORE, the Trustee respectfully requests that the Court enter an order (a) granting

14   the Motion; (b) disallowing the Claim as an administrative claim against the Debtors’ estates; and (c)

15   granting the Trustee such other and further relief as may appropriate under the circumstances.

16   Dated: September 29, 2021                       LAW OFFICES OF BRADLEY E. BROOK, APC
17

18                                              By: Bradley E. Brook __________________________
                                                    Bradley E. Brook, Esq.
19                                                  Special counsel for David K. Gottlieb, Chapter 7
                                                    Trustee of Penthouse Global Media, Inc. and its
20                                                  affiliated debtor entities
21   Submitted by:
22   Linda F. Cantor (CA Bar No. 153762)
     PACHULSKI STANG ZIEHL & JONES LLP
23   10100 Santa Monica Blvd., 13th Floor
     Los Angeles, CA 90067
24   Telephone: 310/277-6910
     Facsimile: 310/201-0760
25   E-mail: lcantor@pszjlaw.com
26
     By: /s/ Linda F. Cantor____________________
27      Linda F. Cantor
28      Counsel for David K. Gottlieb, Chapter 7 Trustee
        of Penthouse Global Media, Inc. and its debtor affiliates

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 1                        MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.     BACKGROUND.

 3          A.     The Debtors’ Bankruptcy Cases, Jurisdiction and Venue.

 4          On January 11, 2018, the Debtors each filed voluntary petitions for relief under chapter 11 of

 5   the Bankruptcy Code (the “Petition Date”). The Debtors’ Cases are being jointly administered under

 6   lead case number 1:18-bk-10098-MB [Docket No. 17]. On March 2, 2018, the Court entered an

 7   order directing the appointment of a chapter 11 Trustee [Docket No. 231]. On March 6, 2018, the

 8   United States Trustee filed a Notice of Appointment of Chapter 11 Trustee [Docket No. 236]. On

 9   that same day, the Court entered an order approving the appointment of David K. Gottlieb as Trustee

10   [Docket No. 239].

11          On January 31, 2019, the Trustee filed a Notice of Motion and Motion for Order Converting

12   Cases to Chapter 7 [Docket No. 790] (the “Conversion Motion”). The Bankruptcy Court entered its

13   Order converting the Cases to Cases under chapter 7 of the Bankruptcy Code [Docket No. 810] (the

14   “Conversion Order”) on March 12, 2019, and the Office of the United States Trustee appointed

15   David K. Gottlieb as the chapter 7 trustee in the Cases [Docket No. 812].

16          The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334. This is a

17   core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue of this matter is appropriate pursuant to

18   28 U.S.C. §§ 1408 and 1409.

19          B.     The Administrative Claims Bar Date And The Claim.

20          On October 22, 2018, the Trustee filed and served the Notice Of Deadline For Filing

21   Requests For Payment Of Chapter 11 Administrative Claims That Arose Between January 11, 2018

22   And June 15, 2018 [Docket No. 714] (the “Administrative Claim Bar Date Notice”), setting

23   November 21, 2018 as the bar date for filing chapter 11 administrative claims (the “Bar Date”).

24          On or about October 19, 2018, the Claimant filed the Claim which was assigned claim

25   number 64-1 by the court clerk requesting payment in the sum of $41,394.20. A true and correct

26   copy of the Claim is attached hereto as Exhibit “1”. The Claim describes the sum due on account of

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 1   “Trademark Legal Services” and attached to the Claim are a series of invoices for legal fees and

 2   costs associated with obtaining/retaining trademarks.

 3           C.       The Claimant Never Sought Nor Obtained Approval For Its Employment.

 4           The Claimant does not present any evidence that approval for its employment in this case

 5   was sought nor does the court docket reflect that an application seeking approval for its employment

 6   under 11 U.S.C. § 327 was filed. There is no order approving Claimant’s employment in these cases.

 7   II.     ARGUMENT
 8           A.       The Claimant Is Barred From Receiving Payment From The Estates On

 9   Account Of The Claim Which Must Be Disallowed As An Administrative Expense.

10           Court approval for the employment of Claimant by the debtor in possession or the Trustee

11   pursuant to 11 U.S.C. §327 was never sought nor obtained in these cases. It is well-settled in this

12   Circuit that employment of a professional for a debtor in possession is a prerequisite to the payment

13   of fees. Atkins v. Wain, Samuel & Co., 69 F.3d 970, 973 (9th Cir. 1995) (“[P]rofessionals who

14   perform services for a debtor in possession cannot recover fees for services rendered to the estate

15   unless those services have been previously authorized by a court order.”). Courts generally rely on

16   11 U.S.C. § 503(b)(2) as a basis for granting administrative status to compensation to professionals.1

17   Section 503 grants administrative status to claims for “compensation and reimbursement awarded

18   under section 330(a) of this title.” In re Weibel, 176 B.R. at 212. Section 503 is not permitted to be

19   used to allow professionals to side-step or otherwise avoid the requirements of §§ 327 and 330. In re

20   Mehdipour, 202 B.R. 474, 479 (9th Cir. BAP 1996). “Court approval of the employment of counsel

21   for a debtor in possession is sine qua non to counsel getting paid. Failure to receive court approval

22   for the employment of a professional in accordance with §327 and Rule 2014 precludes the payment

23   of fees.” In re Weibel, 176 B.R. at 211 quoting In re Shirley, 134 B.R. 940, 944 (9th Cir. BAP 1992).

24   The Code and Rules preclude fee awards for services performed on behalf of a bankruptcy estate

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       An attorney cannot receive an administrative claim under section 503(b)(1) for professional services rendered when
27   counsel has not been employed because to do so would nullify the reference to section 330(a) in section 503(b)(2). In re
     Weibel, Inc., 176 B.R. 209, 213 (9th Cir. BAP 1994).
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 1   based on state law theories not provided for by the Code, such as quantum meruit. In re Weibel, 176

 2   B.R. at 212; In re Shirley, 134 B.R. at 944.

 3          Since approval of the Claimant’s employment was never sought nor obtained, Claimant is

 4   barred from obtaining any recovery for any sum as an administrative claim or otherwise. The Claim

 5   must be disallowed as an administrative expense against the Debtors’ estates.

 6   III.   RESERVATION OF RIGHTS.

 7          The Trustee has not attempted to raise in this Motion each defense, counterclaim, or setoff

 8   that may apply to the Claim. If a response to this Motion is received, the Trustee reserves the right

 9   to amend or supplement it, or file additional pleadings to assert any defenses, counterclaims, and/or

10   setoffs against the Claim. In all instances, the Trustee reserves the right to file pleadings to challenge

11   the validity, amount, or status of the Claim upon different grounds than set forth herein or otherwise.

12   IV.    CONCLUSION.
13          For the reasons set forth herein, the Trustee respectfully requests that the Court enter an

14   order: (a) granting the Motion; (b) disallowing the Claim as an administrative expense; and (c)

15   granting such other and further relief as may be appropriate under the circumstances.

16   Dated: September 29, 2021                      LAW OFFICES OF BRADLEY E. BROOK, APC
17
                                               By: Bradley E. Brook __________________________
18                                                 Bradley E. Brook, Esq.
                                                   Special counsel for David K. Gottlieb, Chapter 7
19                                                 Trustee of Penthouse Global Media, Inc. and its
                                                   affiliated debtor entities
20
     Submitted by:
21
     Linda F. Cantor (CA Bar No. 153762)
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23   Los Angeles, CA 90067
     Telephone: 310/277-6910
24   Facsimile: 310/201-0760
     E-mail: lcantor@pszjlaw.com
25
     By: /s/ Linda F. Cantor____________________
26      Linda F. Cantor
        Counsel for David K. Gottlieb, Chapter 7 Trustee
27
        of Penthouse Global Media, Inc. and its debtor affiliates
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 8                               EXHIBIT “1”
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                      Claim950
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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                         10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067

A true and correct copy of the foregoing document entitled: NOTICE OF MOTION AND MOTION OF TRUSTEE FOR
ORDER DISALLOWING REQUEST FOR PAYMENT OF ADMINISTRATIVE CLAIM NO. 64-1 FILED BY ALLEN, DYER,
DOPPELT & GILCHRIST P.A. IN THE SUM OF $41,394.20; MEMORANDUM OF POINTS AND AUTHORITIES;
DECLARATION OF DAVID K. GOTTLIEB IN SUPPORT THEREOF will be served or was served (a) on the Judge in
chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
September 30, 2021, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On September 30, 2021, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on September 30, 2021, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

        Via Federal Express
        Honorable Martin R. Barash
        United States Bankruptcy Court
        Central District of California
        21041 Burbank Boulevard, Suite 342 / Courtroom 303
        Woodland Hills, CA 91367



                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 September 30, 2021                     Nancy H. Brown                                        /s/ Nancy H. Brown
 Date                                    Printed Name                                         Signature




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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    1. 1:18-bk-10098-MB Notice will be electronically mailed to:

    Ron Bender on behalf of Interested Party Courtesy NEF                            calendar@greenbergglusker.com;jking@greenberggluske
    rb@lnbyb.com                                                                     r.com

    Stephen F Biegenzahn on behalf of Creditor Eli B.                                James A Dumas, Jr on behalf of Creditor NOA
    Dubrow                                                                           Productions SPRL
    efile@sfblaw.com                                                                 jdumas@dumas-law.com, jdumas@ecf.inforuptcy.com

    Paul M Brent on behalf of Interested Party WGCZ Ltd.,                            James A Dumas, Jr on behalf of Creditor Penthouse
    S.R.O.                                                                           Global Broadcasting, Inc.
    snb300@aol.com                                                                   jdumas@dumas-law.com, jdumas@ecf.inforuptcy.com

    Bradley E Brook on behalf of Plaintiff DAVID K                                   Jeffrey K Garfinkle on behalf of Creditor Easy Online
    GOTTLIEB                                                                         Solutions, Ltd. d/b/a MojoHost
    bbrook@bbrooklaw.com,                                                            jgarfinkle@buchalter.com,
    paulo@bbrooklaw.com;brookecfmail@gmail.com                                       docket@buchalter.com;dcyrankowski@buchalter.com

    Bradley E Brook on behalf of Plaintiff DAVID K                                   Allan B Gelbard on behalf of Other Professional Allan B.
    GOTTLIEB                                                                         Gelbard
    bbrook@bbrooklaw.com,                                                            xxxesq@aol.com, Allan@GelbardLaw.com
    paulo@bbrooklaw.com;brookecfmail@gmail.com
                                                                                     David Keith Gottlieb (TR)
    Bradley E Brook on behalf of Trustee David Keith                                 dkgtrustee@dkgallc.com,
    Gottlieb (TR)                                                                    dgottlieb@iq7technology.com,rjohnson@dkgallc.com,ak
    bbrook@bbrooklaw.com,                                                            uras@dkgallc.com;ecf.alert+Gottlieb@titlexi.com
    paulo@bbrooklaw.com;brookecfmail@gmail.com
                                                                                     Mirco J Haag on behalf of Creditor Easy Online
    Linda F Cantor, ESQ on behalf of Debtor Penthouse                                Solutions, Ltd. d/b/a MojoHost
    Global Media, Inc.                                                               mhaag@buchalter.com,
    lcantor@pszjlaw.com, lcantor@pszjlaw.com                                         dcyrankowski@buchalter.com;docket@buchalter.com

    Linda F Cantor, ESQ on behalf of Trustee David Keith                             Mark S Horoupian on behalf of Interested Party Courtesy
    Gottlieb (TR)                                                                    NEF
    lcantor@pszjlaw.com, lcantor@pszjlaw.com                                         mhoroupian@sulmeyerlaw.com,
                                                                                     mhoroupian@ecf.inforuptcy.com;ccaldwell@sulmeyerla
    Carol Chow on behalf of Interested Party Jerrick Media                           w.com
    Holdings, Inc.
    carol.chow@ffslaw.com, easter.santamaria@ffslaw.com                              Mark S Horoupian on behalf of Interested Party WSM
                                                                                     Investment, LLC dba TOPCO Sales
    Carol Chow on behalf of Interested Party Jerrick Ventures                        mhoroupian@sulmeyerlaw.com,
    LLC                                                                              mhoroupian@ecf.inforuptcy.com;ccaldwell@sulmeyerla
    carol.chow@ffslaw.com, easter.santamaria@ffslaw.com                              w.com

    Russell Clementson on behalf of U.S. Trustee United                              Razmig Izakelian on behalf of Interested Party WGCZ
    States Trustee (SV)                                                              Ltd., S.R.O.
    russell.clementson@usdoj.gov                                                     razmigizakelian@quinnemanuel.com

    Joseph Corrigan on behalf of Creditor Iron Mountain                              John P Kreis on behalf of Creditor Claxson Media LLC
    Information Management, LLC                                                      jkreis@kreislaw.com, j.kreis@ca.rr.com
    Bankruptcy2@ironmountain.com
                                                                                     Michael D Kwasigroch on behalf of Defendant Revideo,
    Brian L Davidoff on behalf of Interested Party Silver Reel                       Inc.
    Entertainment Mezzanine Fund, L.P.                                               attorneyforlife@aol.com
    bdavidoff@greenbergglusker.com,
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June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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    Michael D Kwasigroch on behalf of Defendant Kelly                                Michael St James on behalf of Interested Party Michael
    Holland                                                                          St. James
    attorneyforlife@aol.com                                                          ecf@stjames-law.com,
                                                                                     stjames.michaelr101488@notify.bestcase.com
    Michael D Kwasigroch on behalf of Defendant Robert
    Campbell                                                                         Howard Steinberg on behalf of Creditor Greenberg
    attorneyforlife@aol.com                                                          Traurig, LLP
                                                                                     steinbergh@gtlaw.com,
    Andrew B Levin on behalf of Interested Party Kirkendoll                          pearsallt@gtlaw.com;laik@gtlaw.com
    Management LLC
    alevin@wcghlaw.com,                                                              Cathy Ta on behalf of Creditor Penthouse Clubs
    Meir@virtualparalegalservices.com;pj@wcghlaw.com;jm                              Worldwide, LLC
    artinez@wcghlaw.com                                                              cathyta@cathyta.net

    Peter W Lianides on behalf of Interested Party Kirkendoll                        United States Trustee (SV)
    Management LLC                                                                   ustpregion16.wh.ecf@usdoj.gov
    plianides@wghlawyers.com,
    jmartinez@wghlawyers.com;mweinberg@wghlawyers.co                                 Michael H Weiss mhw@mhw-pc.com,
    m
                                                                                     Michael H Weiss on behalf of Debtor Danni Ashe, Inc.
    David W. Meadows on behalf of Interested Party                                   mhw@mhw-pc.com
    Courtesy NEF
    david@davidwmeadowslaw.com                                                       Michael H Weiss on behalf of Debtor GMI Online
                                                                                     Ventures, Ltd.
    Krikor J Meshefejian on behalf of Creditor Interested                            mhw@mhw-pc.com
    Party
    kjm@lnbyb.com                                                                    Michael H Weiss on behalf of Debtor General Media
                                                                                     Communications, Inc.
                                                                                     mhw@mhw-pc.com
    Alan I Nahmias on behalf of Interested Party Courtesy
    NEF                                                                              Michael H Weiss on behalf of Debtor General Media
    anahmias@mbnlawyers.com, jdale@mbnlawyers.com                                    Entertainment, Inc.
                                                                                     mhw@mhw-pc.com
    Iain A W Nasatir on behalf of Interested Party Courtesy
    NEF                                                                              Michael H Weiss on behalf of Debtor Penthouse Digital
    inasatir@pszjlaw.com, jwashington@pszjlaw.com                                    Media Productions, Inc.
                                                                                     mhw@mhw-pc.com
    Iain A W Nasatir on behalf of Trustee David Keith
    Gottlieb (TR)                                                                    Michael H Weiss on behalf of Debtor Penthouse Global
    inasatir@pszjlaw.com, jwashington@pszjlaw.com                                    Broadcasting, Inc.
                                                                                     mhw@mhw-pc.com
    Hamid R Rafatjoo on behalf of Creditor Committee The
    Official Committee of Unsecured Creditors                                        Michael H Weiss on behalf of Debtor Penthouse Global
    hrafatjoo@raineslaw.com, bclark@raineslaw.com                                    Digital, Inc.
                                                                                     mhw@mhw-pc.com
    S. Marguax Ross on behalf of U.S. Trustee United States
    Trustee (SV)                                                                     Michael H Weiss on behalf of Debtor Penthouse Global
    margaux.ross@usdoj.gov, Kate.Bunker@UST.DOJ.GOV                                  Licensing, Inc.
                                                                                     mhw@mhw-pc.com
    Michael St James on behalf of Creditor Interested Party
    ecf@stjames-law.com,                                                             Michael H Weiss on behalf of Debtor Penthouse Global
    stjames.michaelr101488@notify.bestcase.com                                       Media, Inc.
                                                                                     mhw@mhw-pc.com

                                                                                     Michael H Weiss on behalf of Debtor Penthouse Global
                                                                                     Publishing, Inc.
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June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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    mhw@mhw-pc.com

    Michael H Weiss on behalf of Debtor Penthouse Images
    Acquisitions, Ltd.
    mhw@mhw-pc.com

    Michael H Weiss on behalf of Debtor Pure Entertainment
    Telecommunications, Inc. fka For Your Ears Only, Ltd.
    mhw@mhw-pc.com

    Michael H Weiss on behalf of Debtor Streamray Studios,
    Inc.
    mhw@mhw-pc.com


    Michael H Weiss on behalf of Debtor Tan Door Media,
    Inc.
    mhw@mhw-pc.com

    Michael H Weiss on behalf of Debtor XVHUB Group,
    Inc.
    mhw@mhw-pc.com

    Marc J Winthrop on behalf of Interested Party Kirkendoll
    Management LLC
    mwinthrop@wghlawyers.com,
    jmartinez@wghlawyers.com

    Christopher K.S. Wong on behalf of Creditor LSC
    Communications US, LLC / Creel Printing
    christopher.wong@arentfox.com,
    yvonne.li@arentfox.com

    Beth Ann R Young on behalf of Creditor Dream Media
    Corporation
    bry@lnbyb.com

    Beth Ann R Young on behalf of Creditor Interested Party
    bry@lnbyb.com




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    2.   SERVED BY UNITED STATES MAIL:

         Claimant

         David Sigalow, Esq.
         Allen, Dyer, Doppelt & Gilchrist, P.A.
         255 S. Orange Avenue, Suite 1401
         Orlando, FL 32801


         Debtor
         Penthouse Global Media, Inc.
         8944 Mason Ave.
         Chatsworth, CA 91311

         Counsel for Debtor
         Michael H. Weiss, Esq., P.C.
         8581 Santa Monica Boulevard, #4
         West Hollywood, CA 90069

         Trustee
         David K. Gottlieb
         Managing Member
         D. Gottlieb & Associates, LLC
         16255 Ventura Blvd., Suite 440
         Encino, California, 91436

         Office of U.S. Trustee
         Kate Bunker
         915 Wilshire Blvd.
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          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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